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                                           April 14 , 2017

VIA ECF, HAND-DELIVERY AND E-MAIL

The Honorable Shelley C. Chapman
United States Bankruptcy Court for the Southern District of New York
One Bowling Green, Courtroom 623
New York, New York 10004

               Re:     Lehman Brothers Holdings Inc. v. First Equity Mortgage Brokers,
                       Inc., Adv. Proc. No. 16-01305

Judge Chapman:

                This firm and Rollin Braswell Fisher LLC represent Lehman Brothers Holdings
Inc. (“LBHI” or the “Plan Administrator”) in the above-referenced action and the other individual
actions filed under the case management order entered November 1, 2016 [No. 16-01019, ECF
No. 305] (the “CMO”). Pursuant to Paragraph 11 of the CMO, LBHI respectfully submits this
Letter Response in opposition to the request for permission to file a supplemental brief “regarding
unique facts and issues which it believes warrant dismissal” by First Equity Mortgage Brokers,
Inc. (“FEMBI”). Specifically, FEMBI seeks to make a supplemental motion to dismiss based on
either: (i) the affirmative defense of accord and satisfaction regarding a purported settlement
agreement between Aurora Loan Services LLC and FEMBI; or (ii) the defense of non-performance
by the Plan Administrator for failure to provide notice of assignment. See Adv. Proc. No. 16-
01305, ECF No. 14 (the “Letter Request”) at 1. For the reasons set forth below, this request to
“step out of line” should be denied because it is procedurally improper and meritless.

        First, under the CMO, Phase I is dedicated to motions under Rule 12(b)(6) and other
“threshold” motions under Rule 12. Specifically, Paragraph 9 of the CMO calls for a single
consolidated motion limited to Rules 12(b)(1) (lack of subject matter jurisdiction), 12(b)(3)
(improper venue), 12(b)(6) (failure to state a claim upon which relief can be granted), 12 (b)(7)
(failure to join a party under Rule 19), 12(e) (for a more definite statement), and 12(f) (to strike).
The motion that FEMBI proposes to make falls under none of those rules. Because this proposed
motion does not fall within Phase I of this proceeding, FEMBI’s request should be denied.

         FEMBI acknowledges that its position would fail if this Court adheres to the plain terms
of its settlement agreement as the purported “release given by Aurora . . . did not specifically name
LBHI as among the releasing parties.” Letter Request at 1. To have any chance of overcoming the
express terms of the settlement agreement, FEMBI would first have to prove that, as a matter of
law, the settlement’s terms are ambiguous; and then, presumably through discovery, propound
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extrinsic evidence in support of its interpretation. This is not a proper basis for a Phase I motion.
While it claims that the release does not matter, FEMBI’s defense would require consideration of
facts outside the Complaint, and cannot properly be decided on a threshold motion to dismiss. See
e.g., In re Motors Liquidation Co., 563 B.R. 498, 505 (Bankr. S.D.N.Y. 2016) (affirmative
defenses “cannot ordinarily support” a 12(b)(6) dismissal and may only be adjudicated upon
12(b)(6) motion if the defense is “clear” from the complaint itself).

        Second, even if it were procedurally proper, FEMBI’s Letter Request is meritless. FEMBI
contends that it had no notice that the claims were assigned to LBHI.1 However, the agreements
permit such assignments and impose no notice requirement. Section 4 of the Loan Purchase
Agreement between FEMBI and Lehman Brothers Bank FSB (“LBB”) contains no notice
requirement in connection with any assignment. The Loan Purchase Agreement specifically
permits assignment, subject only to the limitation that LBB must consent to any assignment.
Further, under the Seller’s Guide (incorporated by the Loan Purchase Agreement), there was no
requirement that notice be given of “remedies available against the Seller for Seller’s breach of
any representation, warranty or covenant hereunder, including without limitation, the repurchase
and indemnification remedies.”2 In any event, an assignment is valid despite a failure to give
notice unless an express agreement provides to the contrary. See Univ. Mews Associates v.
Jeanmarie, 471 N.Y.S.2d 457, 461 (N.Y. Sup. Ct. 1983) (assignment restrictions do not void
assignment absent “express provisions that any assignment shall be void or invalid if not made in
a certain specified way”); see also In re Britton, 288 B.R. 170, 173 (Bankr. N.D.N.Y. 2002) (“only
express limitations on assignability are enforceable” (emphasis in original)). No restriction on
assignment invalidated the assignment in question.3

        Finally, FEMBI’s argument that “LBHI . . . fail[ed] to appraise FEMBI of proofs of claim
filed by Fannie Mae and/or Freddie Mac,” (Letter Request at 1), is irrelevant. No Lehman entity
had a duty to provide notice of these proofs of claim filed by third-parties, and the extent of
FEMBI’s notice—if relevant—will be the subject of discovery. This issue is not a proper subject
for a Phase I threshold motion.

       The Plan Administrator respectfully requests that the Court deny FEMBI’s request to file
a supplemental motion to dismiss.

                                                          Respectfully submitted,

                                                          /s/ Adam M. Bialek

                                                          Adam M. Bialek

cc:      All counsel of record (via ECF)

1
  This is a fact question not appropriate for Phase I motions.
2
  Seller’s Guide § 713.3. While Section 713.3 contains a notice requirement, that requirement applies to a Purchaser’s
assignment of its rights and duties under the Loan Purchase Agreement and does not apply to the indemnification
remedy or other representations and warranties. See also Seller’s Guide § 701.
3
  In addition, assuming arguendo, notice was required, this defense is not unique to FEMBI. Accordingly, this issue
is not appropriate for a Phase I “step out of line” supplemental brief.

                                                          2
